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Exhibit A

In Re: KATRINA CANAL BREACHES CONSOLIDATED LITIGATION

Case List as of October 23, 2006

Company et al

Case Name Case Number Pertains ‘To

O'Dwyer et al v. USA et al No. 05-4181 | Levee, MRGO,
Responder

In Re: Katrina Canal Breaches Litigation (Lead No. 05-4182 Levee

Case)

J. Vodanovich v. Boh Brothers Construction Co., No. 05-4191 Levee

LLC et al

Harvey et al v. Board of Commissioners for the No. 05-4568 Levee

Orleans Levee District, Parish of Orleans

(remanded to State Court)

A. Vodanovich et al v. Boh Bros. Construction Co., No. 05-5237 Levee

LLC et al

Kirsch et al v. Boh Brothers Construction Co. et al No. 05-6073 Levee

Ezell et al v. Boh Brothers Construction Co. et al No. 05-6314 Levee

Vanderbrook et al v. State Farm Fire and Casualty No. 05-6323 Insurance

Company et al

Brown et al v. Boh Brothers Construction Company, | No. 05-6324 Levee

LLC et al

LeBlanc et al v. Boh Bros. Construction Co., LLC et | No. 05-6327 Levee

al

Bradley et al v. Modjeski and Masters, Inc. No. 05-6359 Levee

Tauzin et al v. Board of Commissioners for the No. 06-0020 Levee

Orleans Parish Levee District et al

Conlay v. Encompass Insurance Company et al No. 06-0151 Insurance

Bradley et al v. Pittman Construction Co., Inc et al No. 06-0225 Levee

Xavier University of Louisiana v. Travelers Property | No. 06-0516 Insurance

Casualty Company of America

Finney et al v. Boh Brothers Construction Company, | No. 06-0886 Levee

LLC et al

Chehardy et al v. State Farm Fire & Casualty No. 06-1672 Insurance

Company et al

Chehardy et al v. State Farm Fire & Casualty No. 06-1673 Insurance

Company et al

Chehardy et al v. State Farm Fire & Casualty No. 06-1674 Insurance

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Case Name Case Number Pertains To
O'Dwyer v. United States Army Corps of Engineers | No. 06-1850 | Levee, MRGO,
Responder
(Freedom of
Information Act)
O'Dwyer et al v. United States of America No. 06-1885 MRGO
Reed v. USA et al No. 06-2152 MRGO
Robinson et al v. United States of America et al No. 06-2268 MRGO
Christenberry et al v. Board of Commissioners for No. 06-2278 Levee
the Orleans Levee District et al
Sanchez et al v. Boh Brothers Construction Co. et al No. 06-2287 Levee
Fitzmorris et al v. Board of Commissioners for the No. 06-2346 Levee
Orleans Parish Levee District et al
Marcello et al v. Boh Bros. Construction Company, No. 06-2545 Levee
LLC et al :
Artus et al v. United States of America et al No. 06-2824 MRGO
Harvey et al v. Board of Commissioners for the 06-3529 Levee
Orleans Levee District, Parish of Orleans
(remanded to State Court)
Weeks Marine, Inc. v. Great American Insurance| No. 06-3544 MRGO
Company of New York
Weeks Marine, Inc. v. Great American Insurance No. 06-3545 MRGO
Company of New York
Savoy et al v. USA et al No. 06-3552 MRGO
O’Dwyer v. The United States of America No. 06-4024 MRGO
C. Adams et al v. Boh Bros. Construction Company, | No. 06-4065 Levee
L.L.C. et al
Ackerson et al v. Bean Dredging, L.L.C. et al No. 06-4066 MRGO
O’Dwyer, et al. v. Department of Transportation and | No. 06-4389 | Levee, MRGO,
Development, et al. Responder
G. Adams, et al. vs. Boh Brothers Construction | No. 06-4634 Levee
Company, LLC, et al.
Brock, et al. vs. Boh Brothers Construction No. 06-4931 Levee
Company, L.L.C., et al.
Joseph, et al. v. New Orleans Sewage and Water; No. 06-5032 Levee
Board, et al.
Sims et al.v. Board of Commissioner for the Orleans | No. 06-5116 Levee
Levee District et al.
Richard et al. v. Port of New Orieans et al. No. 06-5118 Levee, MRGO
DePass et al. v. Board of Commissioners for the | No. 06-5127 Levee
Orleans Levee District et al.
M. Adams et al. v. Port of New Orleans et al. No. 06-5128 Levee, MRGO
Bourgeois et al. v. Port of New Orleans et al. No. 06-3131 Levee, MRGO
Ferdinand et al v. Port of New Orleans et al No, 06-5132 Levee, MRGO

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Case Name Case Number Pertains To
Christophe et al v. Port of New Orleans et al No. 06-5134 | Levee, MRGO
S. Williams et al v. Port of New Orleans et al No. 06-5137 Levee, MRGO
Porter et al v. Port of New Orleans et al No, 06-5140 Levee, MRGO
Augustine et al v. Port of New Orleans et al No. 06-5142 Levee, MRGO
Fleming, et al. v. The United States of America; The | No. 06-5159 Levee, MRGO
United States Army Corps of Engineers
Holmes, et al. v. The United States of America; The | No. 06-5161 Levee, MRGO
United States Army Corps of Engineers
Anderson et al v. United States of America et al No. 06-5162 MRGO
Gordon, et al. v. United States of America, et al. No. 06-5163 Levee
Abadie, et al. v. Aegis, et al. No. 06-5164 Insurance
LeDuff et al v. Boh Bros. Construction Company, | No. 06-5260 Levee, MRGO
LLC et al
Gisevius, Jr., et al. v. Boh Brothers Construction} No. 06-5308 Levee
Company, LLC, et al.
Breithoff (Weller), et al. v. Modjeski and Masters, | No. 06-5367 Levee
Inc., et al.
Austin et al v. Allstate Fire and Casualty Insurance | No. 06-5785 Insurance
Company et al
Cochran et al v. Boh Brothers Construction Co.,} No. 06-5785 Levee
LLC et al
O'Dwyer v. Department of Transportation And 06-5786 Levee,
Development, State of Louisiana et al Responder
Yacob, et al. v. Board of Commissioners for the | No. 06-5937 Levee
Orleans Levee District, et al.
Deane et al v. Boh Bros. Construction Co., L.L.C. et | No. 06-6473 Levee
al
Hanna v. Farm Bureau Insurance Companies et al No. 06-6481 Insurance
Rodrigue et al v. Buffman, Inc. et al No. 06-6639 St. Rita

